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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                        CASE NO: 8:04-cr-367-T-30MAP

 TIMOTHY WILLIAMS


                                             ORDER

        THIS CAUSE comes before the Court on Defendant’s Motion for Reconsideration

 (Doc. 274) of the Court’s November 14, 2016 Order (Doc. 273). In the order, this Court

 concluded Defendant was not entitled to a sentence reduction because he was sentenced

 under the career offender guideline and not the drug quantity table. Defendant now argues

 for reconsideration because he claims he should not have been sentenced under the career

 offender guideline, based on United States v. Hinkle, 832 F.3d 569 (5th Cir. 2016).

            Defendant’s motion for reconsideration must be denied. Defendant argued on

 appeal that this Court erred when it sentenced him as a career offender, and the Eleventh

 Circuit rejected that argument. United States v. Williams, 181 F. App’x 945, 949–50 (11th

 Cir. 2006). That conclusion has become law of the case, and this Court has not been

 presented with any reason why the Eleventh Circuit’s ruling should be disturbed. United

 States v. Hall, 628 F. App'x 681, 684 (11th Cir. 2015). 1



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           Even if the Court were to revisit Defendant’s career offender sentence, Hinkle is
 inapposite. There, the Fifth Circuit found that the defendant was not a career offender because the
 statute under which he was sentenced was not a qualifying statute. 832 F.3d at 576. Defendant here
 has not made the same showing, nor is the argument proper for a motion for sentence reduction
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        Accordingly, it is ORDERED AND ADJUDGED that:

        1.     Defendant’s Motion for Reconsideration (Doc. 274) is DENIED.

        DONE and ORDERED in Tampa, Florida, this 28th day of November, 2016.




 Copies furnished to:
 Counsel/Parties of Record




 under 18 U.S.C. § 3582(c)(2). United States v. Bell, 652 F. App'x 741, 744 (11th Cir. 2016).



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